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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


                                                        CIVIL ACTION
PIAINTIFFCS)     ^
                                                        No.
VERSUS

                                                        SECTION: j\(2L)
PEFENDANT(S)


                                         ORDER


    Considering the Motion "Vcn C
    IT IS ORDERED that the Motion is GRANTED.

    New Orleans, Louisiana, this.         day of                      .,20




                     U.S. DISTRICT JUDGE/MAGISTRATE JUDGE
